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IN CLERKS OPTED AMnited States District Court
U.s.D A

FASJERN DISTRICT OF NEW YORK
sk MAY 12 201
UNITED STATES OF AMERICA

R OOKLYN OFFICE ORDER OF DETENTION PENDING TRIAL
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K. daw Case Number: |i ee -3549- CeeR)
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In accordance with the Bail Reform Act. 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.

Part 1 - Findings of Fact
__ (1) The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of'a (federal offense)

(State or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed)
that is

— acrime of violence as defined in 18 U.S.C. §3156(a)(4).
an offense for which the maximum sentence is life imprisonment or death.
an offense for which a maximum term of imprisonment of ten years or more is prescribed in

___4 felony that was committed after the defendant had been convicted of two or more prior federal offense described in
18 U.S.C. §$3142(f)(1)(A)-(C), or comparable state or local offenses.

(2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local

offense.

(3) A period of not more than five years has elapsed since the (date of conviction)(release of the defendant from imprisonment)
for the offense described in finding (1).

(4) The defendant has not rebutied the presumption established by finding Nos.(1), (2) and (3) that no condition or combination of
conditions will reasonably assure the safety of (an)other person(s) and the community.

Alternative Findings (A)
(1) There is probable cause to believe that the defendant has committed an offense

—.. for which a maximum term of imprisonment of ten years or more is prescribed in___ 21 U.S.C. 8 =
___ under 18 U.S.C, §924(c).

(2) The defendant has not rebutted the presumption established by finding (1) that no condition or combination of conditions
will reasonably assure the appearance of the defendant as required and the safety of the community.

Alternative Findings (B)
(I) There is a serious risk that the defendant will not appear.

—__ (2)

There is a serious risk that the defendant wilt endanger the safety of another person or the community.

Part I] - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by a preponderance of the evidence/clear and

convincing evidence that no conditions will reasonably assure defendant 's appearance/the safety of the community because
fendant lacks substantial ties to the community.

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“wtlefendant is not a U.S. citizen and an illegal alien.
a-defendant has no stable history of employment.
__ defendant presented no credible sureties to assure his appearance.

__ but leave is granted to reopen and present a bail package in the future.
___ defendant's family resides primarily in

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Part II - Directions Regardi ion
The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant
shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request

of an attorney for the Government, the person in charge of the corrections facility shalt deliver the defendant to the United Stats marshal for
the purpose of an appearance in connection with a court proceeding.

Dated: Sil / 201 f
Brodklyn. New York

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